Case 2:14-cv-06514-ODW-CW Document 3 Filed 08/26/14 Page1of10 Page ID #:22

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LAW OFFIC. OF KATHLEEN A. KENNE
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Facsimile: (310) 452-7067 a
lawofticekkenne@netzero.com CLERK, Us, /BSaICT COURT
Attorney for Plaintiff, Terra L. Hands
AUG 26 2014
CENTRAL DISTRICT OF CALIFORNIA
BY DEPUTY

 

 

 

THE UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

LA CV14 06514— ony (Ctx)

TERRA L. HANDS, CASE NO.

 

Plaintiff, CIVIL COMPLAINT
VS. DEMAND FOR JURY TRIAL
ADVANCED CRITICAL CARE- 2 of 8
LOS ANGELES, INC.; and y Be S r
RICHARD MILLS, D.V.M:; rac & Ee
RACHELLE SURRENCY; AMY Gru f Oo
GRAHAM, as corporate coployes BSS wo @
of ADVANCED CRITICAL CARE- Baw og rm
LOS ANGELES, INC. and rao = oO
individually, “oo ~
c2 6
Defendants. : "Se
)
Plaintiff TERRA L. HANDS (“Ms. Hands”) alleges:
lL, Plaintiff, Ms. Hands is and was at all times mentioned herein a

citizen of the State of California.

1
CIVIL COMPLAINT AND DEMAND FOR JURY TRIAL

 
Case 2:14-cv-06514-ODW-CW Document 3 Filed 08/26/14 Page 20f10 Page ID#:23

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2. ADVANCED CRITICAL CARE-LOS ANGELES, INC. (“ACC”)
iS a Corporation incorporated under the laws of the State of California, licensed
and having its principal place of business in the State of California.

3. Defendants, RICHARD MILLS, D.V.M.; RACHELLE
SURRENCY, and AMY GRAHAM, are and were at all times mentioned
executive corporate employees of ADVANCED CRITICAL CARE-LOS
ANGELES, INC.; and were and are at all times mentioned herein individually
residents of the State of California.

4, The jurisdiction of this Court over the subject matter of this action
is predicated on the Family and Medical Leave Act (“FMLA”) as set forth at 29
USC § 28.

5: The defendants are incorporated in, doing business in, and have
their principal place of business in this district; and the claims arose in this
district.

6. All conditions precedent, if any, have occurred or been performed
prior to the filing of this complaint.

Ts In February 2006 Ms. Hands was employed by ACC as a
receptionist.

8. In July 2007 Ms. Hands was hand-selected by defendant Amy
Graham (“Ms. Graham”) and was promoted to ACC’s administrative assistant
position.

2
CIVIL COMPLAINT AND DEMAND FOR JURY TRIAL

 
Case 2:14-cv-06514-ODW-CW Document 3 Filed 08/26/14 Page 3o0f10 Page ID #:24

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9, Ms. Hands’ promotion also included being moved from the front
reception area to the back administrative offices.

10. in July 2008 Ms. Hands’ administrative assistant position was third
in the administrative hierarchy with increased responsibilities including a
variety of duties assisting Ms. Graham as ACC’s Hospital Manager such as
bookkeeping, accounting, human resources, and cultural events.

il. In or about November of 2010 Ms. Hands informed ACC and Ms.
Graham of her pregnancy with an anticipated due date of June 29, 2011 and her
intention to continue working up to and until the time of delivery.

12. On April 1, 2011, Ms. Hands unexpectedly went into premature
labor and informed ACC and Ms. Graham of the same.

13. On the early morning of Aprii 2, 2011, Ms. Hands delivered a very
premature daughter by emergency caesarian section who was hospitalized in the
Neonatal Intensive Care Unit (“NICU”) requiring constant medical care and
treatment,

14. On or about April 6, 201 1, ACC moved another ACC receptionist
into Ms. Hands’ administrative position on an emergency temporary basis until
Ms. Hands’ her return from her emer ency family and medical ieave,

15. In April 2011 Ms. Hands was released and then re-admitted to the

hospital based on her own complications from the caesarian surgery.

3
CIVIL COMPLAINT AND DEMAND FOR JURY TRIAL

 
Case 2:14-cv-06514-ODW-CW Document 3 Filed 08/26/14 Page 4of10 Page ID#:25

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16. In September 2011 Ms. Hands personally met with ACC and was
specifically informed and reassured that her employment with the ACC was
secure and waiting for her return.

17. Ms. Hands’ premature infant underwent severai heart surgeries and
remained in critical condition in the NICU of several hospitals from April 2,
2011 until her death on November 14, 2011.

18. Immediately after her infant’s death, Ms. Hands suffered emotionai
distress, grief, anxiety, depression and symptoms of post-traumatic stress
disorder and was under the care of a medical physician.

19. In January 2012, Ms. Hands requested an eariy release from your
physician to return to work at ACC.

20. On January 16, 2012 Ms. Hands did returned to work at ACC, but
was never fully re-instated in her prior administrative assistant position with ali
of your former seniority and responsibilities of the prior five years.

21. In March of 2012, ACC and defendant Richard Mills, D.V.M. (“Dr.
Mills”) hired defendant Racheiie Surrency (“Ms. Surrency”) as ACC’s new
Chief Operating Officer (“COO”).

22. On May 15, 2012, Ms. Hands became aware that ACC and Ms.
Surrency intended to demote Ms. Hands into a receptionist/receptionist
Supervisor position and relocate her from the back administrative offices up to

the front reception area.

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CIVIL COMPLAINT AND DEMAND FOR JURY TRIAL
Case 2:14-cv-06514-ODW-CW Document 3 Filed 08/26/14 Page5of10 Page ID #:26

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23. In May and June 2012 defendants ACC, Dr. Mills, Ms. Surrency
and Ms. Graham, among others, attempted repeatedly to threaten, intimidate and
coerce Ms. Hands into accepting the demotion as receptionist/receptionist
supervisor in lieu of being fully reinstated into her former administrative
assistant position.

24. From May 15, 2012 to June i, Z0iZ Ms. Hands repeatedly declined
the receptionist/receptionist supervisor position orally since she had never been
provided with either a written job description or formal written offer for that
position.

25. From May 15, 2012 to June 1, 2012 Ms. Hands also repeatedly
insisted on being fully reinstated into your former administrative assistant
position which was still occupied by the ACC ciipioyee temporarily assigned to
her position on or about April 6, 2011 at the time of her emergency premature
delivery.

26. For the first time late on the afternoon of Tune i, 2012 Ms. Hands
was provided with a written job description by ACC for the
receptionist/receptionist supervisor position.

27. After reviewing the written iob description provided late on Friday,
June 1, 2012, on Monday, June 4, 2012 Ms. Hands formally declined the
demotion to the receptionist/receptionist supervisor position in writing; and
again insisted on being fully reinstated to her former position as administrative
assistant or a very similar position in full compliance with the FMLA.

5
CIVIL COMPLAINT AND DEMAND FOR JURY TRIAL

 

 
Case 2:14-cv-06514-ODW-CW Document 3 Filed 08/26/14 Page 6of10 Page ID #:27

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28. On June 6, 2012, after fo ormally declining the dem

Ms. Hands was terminated from her employment at ACC by ACC, Dr. Mills,
Ms. Surrency and Ms. Graham.

29. Ms. Hands alleges that ACC’s failure to fully reinstate her bac!
into her former administrative assistant position in the back administrative
offices which she held for five years prior to her emergency Family and Medical
Leave in April of 2011 was malicious and is in direct violation of the plain
language of that federal act, as well as all corresponding state laws related to
family, pregnancy and medical leaves.

30. Ms. Hands is informed and believes and now further alleges that
the attempted demotion, coercion, and wrongful termination in May/June of
2012 by Ms. Surrency, adopted by ACC, Dr. Mills and Ms. Graham, was in part
for an ulterior purpose to enable Ms. Surrency to embezzle ACC funds from the
corporation without discovery by Ms. Hands; and so as to allow Ms. Surrency to
continue to embezzle ACC funds from the corporation until her eventual
discovery and termination in February of 2014.

31. Asa result of the defendants’ acts alleged herein, Ms. Hands was
damaged both emotional and financially by the loss of her gainful employment
at ACC after six years, including loss of wages, health benefits, retirement

benefits, vacation benefits, and other employment related benefits.

WHEREFORE, plaintiff TERRA L. HANDS prays for judgment against

TTIMOAT mo
SANA, Wks

defendants ADVANCED C u-LOS ANGELES,

INC.; and

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CIVIL COMPLAINT AND DEMAND FOR JURY TRIAL
Case 2:14-cv-06514-ODW-CW Document 3 Filed 08/26/14 Page 7of10 Page ID #:28

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individuals, RICHARD MILLS, D.V.M.: RACHELLE SURRENCY; and AMY
GRAHAM jointly and severally as follows: Monetary damages in the sum of

no less than $250,000.00; punitive damages according to proof: attorney fees

and costs of suit according to proof: and any further relief which the Court may

deem appropriate.

DATED: August 19, 2014 (Bien Vad

KATHLEEN A. eee

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Santa Monica, C 30409- 514]
lawotficekkenne@netzero.com

Telephone (424) 204-6194

racsimile: (310) 452-7067

DEMAND FOR JURY TRIAL
Plaintiff hereby demands a jury trial as provided by Rule 38 (a) of the

rederal Rules of Civil Procedure.

 

DATED: August 19, 2014 (Abe Ce G..

KATHLEEN A. KENNE
Attorney for Plaintiff, Terra L. Hands

7
CIVIL COMPLAINT AND DEMAND FOR JURY TRIAL

 

 
Case 2:14-cv-06514-ODW-CW Document 3 Filed 08/26/14 Page 8o0f10 Page ID #:29

 

UNITEL ATES DISTRICT COURT, CENTRAL DISTRICT Or CALIFORNIA
CIVIL COVER SHEET
I. (a) PLAINTIFFS ( Check box if you are representing yourself [] ) DEFENDANTS = (Check box if you are representing yourself C] )
TERRA LEIGH HANDS ADVANCED CRITICAL CARE- LOS ANGELES, INC; RICHARD MILLS, DVM; RACHELE

SURRENCY, AND AMY GRAHAM, AS CORPORATE EMPLOYEES OF ADVANCED
CRITICAL CARE-LOS ANGELES, INC. AND INDIVIDUALLY.

County of Residence of First Listed Defendant
(IN U.S. PLAINTIFF CASES ONLY)

(b) County of Residence of First Listed Plaintiff LOS ANGELES

LOS ANGELES
(EXCEPT iN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address and Telephone Number) if you are
representing yourself, provide the same information.
LAW OFFICE OF KATHLEEN A. KENNE

2720 NEILSON WAY, #5141
SANTA MONICA, CA 80409-5141; TEL, (424) 204-6194

Attorneys (Firm Name, Address and Telephone Number) If you are
representing yourself, provide the same information.

STACY L. DOUGLAS, ESQ.

Wood Smith et al LLP

10960 Wilshire Blvd 18th Floor
Los Angeles, CA 90024; TEL. (310) 481-7600

Hi. CITIZENSHIP OF PRINCIPAL PARTIES-Fo;
(Place an X in one box for plaintiff and one for

 

 

Hl. BASIS OF JURISDICTION (Place an X in one box only.) Diversity Cases Only

defendant)

. PTF HEF . Pie DEF
1. U.S. Government 3. Federal Question (U.S. Citwenatthis sens [] 1 [J 1 !ncorporated or Principal Place C] af) 4
Plaintiff Government Not a Party) of Business in this State
Citizen of Another State [7] 2 [“] 2. Incorporated and Principal Place [7] 5 [] 5
(ind é h ' of Business in Another State
2. U.S, Government 4. Diversity (Indicate Citizenship {Citizen or Subject of a . .
: Foreign Natio
Defendant a Parties in Itern II) Foreign Country [13 (3 Foreig 190 Oés

 

 

 

IV. ORIGIN (Place an X in one box only,)
1. Original Ol 2, Removed frarn Cl

Proceeding State Court

6. Multi-
District
Litigation

3. Remanded from
Appellate Court

4. Reinstated or
Reopened

Transferred from Another
District (Specify)

L] O* C

 

 

V. REQUESTED IN COMPLAINT: JURY DEMAND: Yes ["] No (Check "Yes" only if demanded in complaint.)

CLASS ACTION under F.R.Cv.P. 22: [ ]Yes No MONEY DEMANDED IN COMPLAINT: $ 250,000.00

VL CAUSE OF ACTIGN (cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
29 USC 28- WRONGFUL FAILURE TO. REINSTATE, ATTEMPTED DEMOTION, AND TERMINATION AFTER RETURNING FROM FAMILY AND MEDICAL LEAVE.

 

VIL NATURE OF SUIT (Place an X in one box only).

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

OTHER STATUTES CONTRACT ‘REAL PROPERTY:CONT. IMMIGRATION | PRISONER PETITIONS PRODEASTY pittTe
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(] 400 State [7] 120 Marine (1) 245 Tort Product [_] 463 Alien Detainee (-] 830 Patent
Reapportionment Liability 465 Other ia 510 Motions to Vacate
(J 410 Antitrust [] 130 Miller Act f_] 290 All Other Real CT] Immigration Actions Sentence ["] 840 Trademark
(C] 430 Banks and Banking |] 140 Negotiable Popeny TORTS (J 530 General SOCIAL SECURITY
CI instrument TOTS omy PERSONAL PROPERTY |/~] 535 Death Penalty [] 881 HA 355A
450 Commerce/ICC 150 Recovery of RSON 370 Other Fraud Other:
. Bl 923
Cl Rates/etc, [] Overpayment & [[-] 310 Airplane O] [] 862 Black Lung (923)
[] 460 Deportation Elcamen of TF] 215 Airplane [7] 371 Truth in Lending ["] 540 Mandamus/Other |[7] 863 DIWC/DIWW {405 (g)}
470 Racketeer influ- udgmen Product Liability oO 380 Other Personal |[] 550 Civil Rights [} 864 SSID Title XVI
C] enced & Corrupt Org. Cy 151 Medicare Act ol 2 BiH Libel & Property Damage OQ 555 Prison Condition F 865 RSI (405 (g))
ander
[1] 480 Consumer Crecit 152 Recovery of 330 fed. Employers’ |{7] 285 Property Damage| ~ 5 ¢5 civil Detainee
[] Oefaulted Student |) fiabitty Product tiability "_|[} Conditions of FEDERAL TAX SUITS
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850 Securities/Com- 153 Recovery of Os panne 5 422 Appeal 28 FORFEITURE/PENALTY |(_] Defendant)
UI moditiesfexchange [1] Overpayment of 1) fitpqarine Product |LJ usc iss 625 Drug Related (5) 871 IRS-Third Party 26 USC
890 Other Statutory Vet. Benefits 423 Withdrawal 28 CI seizure of Property 21 7609
C Actions 160 Stockholders’ [LJ 350MotorVehicle |[) Usc 157 USC 881
(891 Agricuttural Acts |C suits G3 eae CiViL RIGHTS ([} 696 Other
oO 893 Environmental [7] 190 Other 0 360 Other Personal |L] 440 Other Civil Rights| LABOR ‘ +
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899 Admin. Procedures |__REALSROPERTY Bb? Seaitt Carer oe 751 Family and Medical
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Agency Decision Condemnation Personal Injury Ploy’ ‘ 790 Other Labo
220 Foreclosure Product Liability 446 American with Cte ener Laney
950 Constitutionality of C) 368 Asbestos Oj Disabilities-Other Litigation
Constitutio Rent Lease & ; . 791 Employee Ret. inc.
CI State Scatutes er @& |(1 Personal injury ([] 448 Education Ld ee rity Act

 

 

 

 

 

FOR OFFICE USE ONLY:
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CIVIL COVER SHEET

Page 1 of 3
Case 2:14-cv-06514-ODW-CW Document 3 Filed 08/26/14 Page 9of10 Page ID #:30

UNITEL ATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA

VII. VENUE: Your answers to the questions below will determine
to change, in accordance with the Court's General Orders, upon review

CIVIL COVER SHEET

the division of the Court to which this case will be initially assigned, This initia! sesicnment is Subject
by the Court of your Complaint or Notice of Removal,

 

 

 

 

QUESTION A: Was this case removed
from state court? STATE CASE WAS PENDING IN THE COUNTY OF: INITIAL DIVISION IN-CACD IS:
[) Yes No
[_] Los Angeles, Ventura, Santa Barbara, or San Luis Obispo Western
if "no," skip to Question 8. If "yes," check the
box to the right that applies, enter the [[} Orange Southern
corresponding division in response to re ;
Question E, below, and continue from there. |L] Riverside or San Bernardino Eastern

 

 

 

 

oneé of its agencies or employees, a
PLAINTIF? in this action?

[] Yes No

check one of the boxes to the right

QUESTION B: is the United States, ov [B.1. Do 50% or more of the defendants who reside in
the district reside in Orange Co.?

ab

YES. Your case will initially be assigned to the Southern Division.
Enter "Southern" in response to Question E, below, and continue
from there,

 

NO. Continue to Question 8.2,

 

If "no," skip to Question C. If “yes,” answer
Question 8.1, at right.

check one of the Doxes to the right

B.2. Do 50% or more of the defendants who reside in
the district reside in Riverside and/or San Bernardino
Counties? (Consider the two counties together.)

xp

YES. Your case will initially be assigned to the Eastern Division.
Enter "Eastern" in response to Question E, below, and continue
from there.

 

 

NO. Your case will initially be assigned to the Western Division.
Enter "Western" in response to Question E, below, and continue
from there.

 

 

QUESTION C: js the United States, or
one of its agencies or employees, a
DEFENDANT in this action?

LL] Yes No

check one of the boxes to the right

€.7. Do 50% or more of the plaintiffs who reside in the
district reside in Orange Co.?

can,

YES. Your case will initially be assigned to the Southern Division.
Enter "Southern" in response to Question E, below, and continue
from there.

 

NO. Continue to Question C.2.

 

lf "no," skip to Question D. If "yas," answer
Question C.1, at right.

 

check one of the boxes to the right

€.2. Do 50% or more of the plaintiffs who reside in the
district reside in Riverside and/or San Bernardino
Counties? (Consider the two counties together.)

==>

YES. Your case will initially be assigned to the Eastern Division.
Enter "Eastern" in response to Question E, below, and continue
from there.

 

 

NO. Your case will initially be assigned to the Western Division.

 

QUESTION D: Location of plaintiffs and defendants?

A.

Orange County

Enter "Western" in response to Question E, below, and continue
from there.
B. GQ
Riverside or San Los Angeles, Ventura,

wed Pe ee
Sernordine County

Sania Barbara, or San
Luis Obispo County

 

Indicate the location(s) in which 50% or more of plaintiffs who reside in this district
reside. (Check up to two boxes, or leave blank if none of these choices apply.)

Lal

C]

 

apply.)

Indicate che location(s) in which 50% or more of defendants who reside in this
district reside. (Check up to two boxes, or leave blank if none of these choices

 

CJ

EA] ix)

 

 

 

 

[_] Yes No
if "yes," your case will initially be assigned to the
SOUTHERN DIVISION,

lf"no," go to question D2 to the right.

0.1. is there at least one answer in Column A?

Enter "Southern" in response to Question E, below, and continue from there.

D.2.

is there at least one answer in Column B?
(ives 6 Ne

if "yes," your case will initially be assigned to the

EASTERN DIVISION,

Enter "Eastern" in response to Question E, below.

If "no," your case will be assigned to the WESTERN DIVISION,

Enter "Western" in response to Question E, below. J

 

QUESTION E: Initial Division?

INITIAL DIVISION IN CACD

 

Enter the initial division determined by Question A, B, C, or D above: eal

WESTERN

 

 

QUESTION F: Northern Counties?

 

 

Do 50% or more of plaintiffs or defendants in this district reside in Ventura, Santa Barbara, or San Luis Obispo counties?

Lj Yes [Xx] No

 

 

CV-71 (06/14)

CIVIL COVER SHEET

Page 2 of 3

 
Case 2:14-cv-06514-ODW-CW Document 3 Filed 08/26/14 Page 10o0f10 Page ID#:31

UNITEL ATES DISTRICT COURT, CENTRAL DISTRICT Or ~ALIFORNIA

 

CIVIL COVER SHEET
IX{a}. UDENTICAL CASES: Has this action been previously filed in this court? NO [J Yes
If yes, list case number(s):
iX(b}. RELATED CASES: Is this case related (as defined below} to any cases previously filed in this court? No [] Yes

if yes, list case number(s):

 

 

Civil cases are related when they:

C] A. Arise from the same or closely related transactions, happening, or event;
[| B. Cal! for determination of the same or substantially related or similar questions of law and fact; or

[-] C. For other reasons would entail substantial duplication of labor if heard by different judges.

related, Quip to
ELL CK CD
X. SIGNATURE OF ATTORNEY —

(OR SELF-REPRESENTED LITIGANT): KATHLEEN A. KENNE DATE: 08/15/2014

rr

  

Check all Bones phat plye\That cases may involve the pee trademark, or copyright is not, in itself, sufficient to deem cases
XS

Notice to Counsel/Parties: The submission of this Civil Cover Sheet is required by Local Rule 3-1. This Form CV-71 and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other naners as required by law, except as provided by local ruies of court. For
more detailed instructions, see separate instruction sheet (CV-071 A).

 

 

Key to Statistical codes relating to Social Security Cases:

Nature ofSuitCode Abbreviation Substantive Statement of Cause of Action
. All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended, Also,

861 RIA include claims by hospitals, skilled nursing facilities, eic., for certification as providers of services under the program.
(42 U.S.C. 1935FF(b))

862 BL All claims for "Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969. (30 U.S.C.
923)

863 DIWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
all claims filed for chitd’s insurance benefits based on disability, (42 U.S.C. 405 (g)}

862 DIww All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
amended. (42 U.S.C. 405 (g))

= . All claims for supplemental security ‘ncartie payments Oased upon disability filed under Title 16 of the Social Security Act, as

864 SSID
amended.

865 RSI All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended.

(42 U.S.C. 405 (g))

 

CV-71 (05/74) CIVIL COVER SHEET Page 3 of 3
